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                  IN THE UNITED STATES BANKRUPTCY COURT

                     IN AND FOR THE DISTRICT OF DELAWARE


New Century TRS Holdings, Inc.,              ) Case No. 07-10416 KJC
     et al.,                                 ) Chapter 11
                                             ) Jointly Administered
                                             ) Hearing Date: September 11, 2007
                         Debtors,            ) Response Date: September 4, 2007

CHASE HOME FINANCE, LLC FORMERLY KNOWN AS CHASE MANHATTAN MORTGAGE
     CORPORATION’S MOTION FOR RELIEF FROM THE AUTOMATIC STAY
              PURSUANT TO 11 U.S.C.§362(d)(1) AS TO
      561 DOWNING LAKE DRIVE, HIGH SPRINGS, FLORIDA, 32643




     NOW COMES Chase Home Finance, LLC formerly known as Chase

Manhattan    Mortgage     Corporation,      by    and   through     its     attorney

Whittington & Aulgur, moves the Court for an Order granting relief

from the Automatic Stay of 11 U.S.C. §362 upon the following

grounds:



                                 JURISDICTION

     1.      The Bankruptcy Court has jurisdiction over this matter

pursuant to 28 U.S.C. §1334, 11 U.S.C. §157 and 11 U.S.C. §362.



                                CLAIM FOR RELIEF

     2.      Chase    Home   Finance,       LLC   formerly     known      as   Chase

Manhattan Mortgage Corporation is a corporation located at 3415

Vision Drive, Columbus, Ohio, 43219-6009.

     3.      On April 2, 2007 a Chapter 11 Petition initiating this

proceeding was filed by the Debtors.

     5.      On or about March 19, 2001, non-filing borrower Cynthia
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Thorpe Gaydos a/k/a Cynthia Lou Gaydos (hereinafter “Borrower”)

executed and delivered an indenture of mortgage in the principal

sum    of    $32,000.00     unto      Florida     Citizens    Bank.       Said     mortgage

created a lien upon the property therein mentioned, 561 Downing

Lake Drive, High Springs, Florida, 32643, all of which is of

record in the Office of the Recorder of Deeds in Columbia County,

State    of    Florida.         The    Borrower      subsequently      executed     a   Loan

Modification        Agreement         with   Florida    Citizens       Bank.       Florida

Citizens Bank subsequently executed an Assignment of Mortgage unto

Chase Home Finance, LLC formerly known as Chase Manhattan Mortgage

Corporation.        Copies of said mortgage, loan modification agreement

and assignment are attached collectively hereto as Exhibit "A".

        6.     On    or   about       July   5,    2005,     New    Century       Financial

Services, Inc. who is a Debtor in the within jointly administered

case, obtained a Final Judgment in the amount of $7,573.12 against

Borrower.        A copy of said Judgment is attached hereto as Exhibit

"B".

        7.     Debtors have no ownership interest in the Property, and

their lien, if any, is subordinate to Movant’s.

        8.     At present, Borrower is contractually delinquent and a

foreclosure proceeding is pending.

        9.     Movant’s     Broker       Price     Opinion,     attached       hereto      as

Exhibit "C", lists market value of the property as $59,303.00.

The     payoff      on    the   subject      first     mortgage      is    approximately

$35,524.47 as of April 26, 2007.                  There appears to be some equity

in the Property.            In any event, any potential equity would not

benefit       the   Debtors’     Estate      since    the    Debtors      merely    hold   a
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Judgment against the Borrower.

        10.    The continuation of the Automatic Stay of 11 U.S.C.

§362 will work real and irreparable harm to Movant’s pending

foreclosure proceeding against Borrower.

        WHEREFORE, Chase Home Finance, LLC formerly known as Chase

Manhattan Mortgage Corporation hereby moves for an Order pursuant

to 11 U.S.C. §362(d)(1) terminating the Automatic Stay for cause.




                                  WHITTINGTON & AULGUR


                          By:     /s/ Kristi J. Doughty
                                  Robert T. Aulgur, Jr. (No. 165)
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Date:    August 1, 2007
